                                     Case 3:17-cv-01999-MMA-BGS Document 7-1 Filed 11/16/17 PageID.195 Page 1 of 2


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                                     5
                                            Attorneys for PLAINTIFF:
                                     6      ANGELA JENKINS

                                     7

                                     8                                  UNITED STATES DISTRICT COURT
                                     9
                                                                      SOUTHERN DISTRICT OF CALIFORNIA
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5170 G olde n Foothills Pa r kwa y
BAYUK & ASSOCIATES, INC.




                                     13
  El Dorado Hills, CA 95762




                                                                                             Case #: 3:17-cv-01999 MMA BGS
      Attorneys At Law




                                     14                                                      PROOF OF SERVICE – ELECTRONIC
                                                                                             PLAINTIFF’S APPLICATION TO
                                     15     ANGELA JENKINS                                   APPEAR TELEPHONICALLY
                                     16                    PLAINTIFF (S),                    Date December 4, 2017
                                                                                             Time: 2:30 p.m.
                                     17     V.                                               Courtroom: 3D
                                     18
                                            STERLING JEWELERS, INC., AND DOES 1
                                     19     THROUGH 10, INCLUSIVE
                                     20

                                     21
                                            I, Christopher W. Bayuk, declare:
                                     22
                                                 I am a resident of the State of California and am over the age of eighteen years,
                                     23
                                            and not a party to the within-entitled action; my business address is 5170 Golden
                                     24

                                     25     Foothill Parkway, El Dorado Hills, CA 95762. On November 16, 2017, I served the

                                     26     within documents, with all exhibits, if any:
                                     27

                                     28
                                                      Proof of Service – Electronic Plaintiff’s Application to Appear Telephonically

                                                                                   3:17-cv-01999 MMA BGS
                                     Case 3:17-cv-01999-MMA-BGS Document 7-1 Filed 11/16/17 PageID.196 Page 2 of 2

                                               •    Plaintiff, Angela Jenkins Application for Counsel to Appear
                                     1
                                                    Telephonically
                                     2
                                                X           By Electronic Service: I am familiar with the United States
                                     3                      District Court, Central District of California’s practice for
                                     4                      collecting and processing electronic filings. Under that
                                                            practice, documents are electronically filed with the Court.
                                     5                      The Court’s CM/ECF system will generate a Notice of
                                                            electronic Filing (NEF) to the filing party, the assigned judge,
                                     6                      and any registered users in the case.             The NEF will
                                     7                      constitute service of the document.           Registration as a
                                                            CM/ECT user constitutes consent to electronic service
                                     8                      through the Courts’ transmission facilities.         Under said
                                                            practice, the following CM/EDF users were served:
                                     9

                                     10
                                            Ogletree, Deakins, Nash, Smoak & Stewart, P.C.     E-Mail:
                                     11     Attn: Tracie Childs, Esq.                          tracie.childs@ogletree.com
                                            402 West Broadway, Suite 400
                                     12     San Diego, CA 92101
5170 G olde n Foothills Pa r kwa y
BAYUK & ASSOCIATES, INC.




                                     13
  El Dorado Hills, CA 95762
      Attorneys At Law




                                     14             I declare under penalty of perjury under the laws of the State of California that

                                     15     the above is true and correct.
                                     16
                                                    Executed on November 16, 2017, at Yreka, California.
                                     17

                                     18             /S/: CHRISTOPHER W. BAYUK
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                                                       Proof of Service – Electronic Plaintiff’s Application to Appear Telephonically

                                                                                    3:17-cv-01999 MMA BGS
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